Case 5:05-cv-OOO70-HE Document 124 Filed 02/15/06 Page 1 of 12

IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF OKLAH()MA

GLAZING CONCEPTS, INC., )
)
Plaintiff, )

vs. ) NO. ClV-05~0070-HE
)
HANOVER INSURANCE COMPANY, )
ET AL", )
)
Defendants. )

ORDER

Plaintiff Glazing Concepts, Inc. Was insured under a businessowners policy issued by
defendant Hanover lnsurance Company (“Hanover”). After its business Was damaged by a
tornado on l\/lay 8, 2003, Glazing Coricepts sought coverage under various policy provisions
Hanover hired several professionals to assist it in evaluating Glazing Concepts’ loss,
including defendant Buchanan, Clarl<e, Schlader, L.L.P. (“BCS”), an accounting firm.
Several of the insured’s claims Were resolved quickly, but the parties’ calculations of the
insured’s business interruption loss differed significantly Wlien Hanover responded to
Gla;i:ing Concepts’ proof of loss for business income and extra expenses, offering to settle
the claim for significantly less than the insured had calculated it Was Worth, Glazing
Concepts filed this lawsuit. The plaintiff asserts a breach of contract claim against Hanover,
a negligence claim against BCS, and bad faith and conspiracy claims against both defendants

Hanover has filed a motion for partial summary judgment on the plaintist bad faith and

Case 5:05-cv-OOO70-HE Document 124 Filed 02/15/06 Page 2 of 12

conspiracy claims and its requests for emotional distress and punitive damages.]

Summary judgment is appropriate only When “‘there is no genuine issue as to any
material fact and the moving party is entitled to a judgment as a matter of laW.”
Fed.R.Civ.P. 5 6(c). The evidence and any reasonable inferences that might be drawn from
it are viewed in the light most favorable to the nonmoving party. Simms v. Okla. ex rel.
Der:»’t of Mental Health and Substance Abuse Servs., 165 F.3d 1321, 1326 (lOth Cir. 1999).
Having applied the Rule 56 standard to determine “Whether the evidence presents a sufficient
disagreement to require submission to a jury or Whether it is so one-sided that one party must

prevail as a matter of laW,” Jeffries v. Kansas 147 F.?>d 1220, 1228 (l Oth Cir. 1998) (internal

 

quotation and citation omitted), the court concludes the defendant’s motion should be
granted
W

A portion of Hanover’s factual statement in its motion pertains to the resolution of
Gla;‘;ing Concepts ’ claims for coverage under other provisions of the businessowners policy.
The plaintiff does not contest or, for the most part, even address these facts, asserting they
are irrelevant to its bad faith claim. Hanover’s handling of the other claims, however,
provides some context for consideration of the plaintist bad faith claim. See Thompson v.
Lelter Mut. lnc., 875 F.2d 1460, 1462 (lOth Cir, 1989) (“‘the jury may be shown the entire

course of conduct between the parties to arrive at a determination of Whether [the good faith]

 

]BCS hasfiled a motion for summary judgment, which will be addressed in a Separate Ol”der.

2

Case 5:05-cv-OOO70-HE Document 124 Filed 02/15/06 Page 3 of 12

 

standard had been breached or not. ”’) (quoting Timmons v, Roval Globe Ins. Co.q 653 P.2d
907, 917 (Okla. 1982). While their resolution will not be described in detail, the court notes
that the plaintist other claims under the policy generally were resolved and paid promptly2
Within thirty days of its receipt of the proof of structural loss, Hanover settled the claim,
paying Glazing Concepts $635 ,000. The plaintiff was advanced half of its $ l 50,000 personal
property claim a week after the loss and the other half was paid six days after receipt of the
insured’s proof of loss for its personal propeity, Another $50,000 was paid under the
contractor’s broadening endorsement within approximately sixty days of receipt of the proof
of loss,

Glazing Concepts does not dispute the bulk of the remaining facts, as stated by
Han over, that pertain to its claim under the policy for lost business income and extra
expenses (“business interruption loss”). 3 A summary of those material facts follows

The individuals involved in the handling of the plaintiff s claims were J im Hennessey,

an executive general adjustor with Hanover, Matthew Pearson, an accountant with BCS, and

 

2Glazing Concepts makes one challenge to the promptness ofHanover ’s payment of its other
claims After admitting Hanover ’s factual statements nos.5-8, the plaintijj‘ asserts that “Hanover
did not make any payment to Plaintijjf until Plaintiff got upset and basically told Mr. Hennessey
(Hanover) to ‘ stick it ’ because Hennessey had made excuse after excuse for not paying anything ”
Plaintijjf’s response, p. ], jl 3. Plaintijjf’s Attachment #], Hugh Harrell depo", p. ]45. (Harrell is
the president of Glazing Concepts). Assuming this statement su]j‘ices to show that Hanover delayed
paying the insured for its personal property loss,, it does not demonstrate that Hanover was slow in
providin g coverage under other policy provisions T he court notes, though, that a $ 75, 000 advance
was paid under the business personal property coverage within a week of the tornado. Hanover ’s
factual statement #8.

3 T he term “business interruption loss” will be used when referring to both lost business
income and extra expenses

Case 5:05-cv-OOO70-HE Document 124 Filed 02/15/06 Page 4 of 12

Ernie Brendle, a public adjuster retained by Glazing Concepts to manage its claims under the
policy.

Beginning immediately after the May 2003, tornado and continuing throuin the fall,
BCS repeatedly requested financial and operating information pertaining to the plaintist
claim for business interruption loss. In late December, 2003, the insured finally provided
financial operating statements for the period between January 2001 and August 2003.4
Brendle than began sending BCS lists of the extra expenses Glazing Concepts had incurred5
andj as information was received from the insured, BCS prepared reports analyzing Glazing
Concepts’ business interruption loss, which it submitted to Hennessey, He then provided
some of the reports to Brendle and discussed the contents of others with him.

As Hartford determined, based on BCS’s reports, that submitted expenditures were
covered under the policy, it issued payments to the insured. Brendle also requested funds for
Gla;'\:ing Concepts to meet its expenses several times in early and mid~2004. In February,
Hennessey agreed to advance the plaintiff $65,000 under the extra expense coverage and
subsequent checks were issued in Marcli and April for the insured’s extra expenses in the

amounts of $64,529 and $27,148. ln early June, Hennessey sent Brendle a payment for

 

4T he insured ’s position is that many of BCS ’s requests for information were premature and
unnecessarily burdensome as they pertained to its evaluation of the plaintiij ’s business income loss.
T hat claim, the plainti]f asserts, could be not made until after,the twelve month loss period expired
Glazing Concepts also maintains that some of the other documents BCS requested related to
coverage claims that the insured and Hanover were settling without the assistance of BCS.

5At this time Brendle did not provide information pertaining to the plaintiff ’s loss of income
No formal proof of loss for either business income or extra expenses was filed until November, 2004.

4

Case 5:05-cv-OOO70-HE Document 124 Filed 02/15/06 Page 5 of 12

3100,027 for both extra expenses and lost income.

F rom the beginning (January 2004, on), the parties were not in agreement regarding
the extent of the insured’s extra expenses that were compensable under the policy. Bi‘endle’s
computations generally exceeded BCS ’ s determination by several hundred thousand dollars.
Many items were placed on hold or in a “for discussion” category because BCS and Hanover
concluded they lacked supporting documentation or could not determine, based on the
information provided by the insured, whether they were attributable to the tornado. 6 See
defendant’s Exhibits 39, 44, 48, 50, 55, 61.

ln late summer of 2004, Chancellor & Chancellor, Glazing Concepts’ accounting firm,
completed its analysis of the plaintiff s losses. On September l7, 2004, Brendle sent
Hennessey a summary of the insured’s business income and extra expense claim.7 The
plaintiff s calculated business interruption loss totaled $1,036,834 ~~ $272,140 for business
income loss and $764,694 for extra expenses8 Brendle outlined the method he used to

determine the insured’s final claim and explained the problem he saw with BCS’s approach

 

61n a May l 7, 2004, letter to Hennessey, Brendle referred to a prior conversation regarding
coverage for labor, leases and other extra expenses that were "still up for discussion, ” and stated.'
T here will be a substantial amount of our final claim that will involve coverage issue ’s that I am
confident that I will be able to prove up and properly document to be able to reach an amicable
resolution to this claim. ” Defendant ’s Exhibit 52.

7Brendle told Hennessey in May 2004, that he would be making a final claim in the near
future Defendant ’s Exhibit 53.

SAs of May 25, 2004, BCS calculated the plaintijf ’s total business income and extra expense
loss to be $247,590. Defendant’s Exhibit 53. As of that date, the insured had claimed extra
expenses amounting to $440,] 77, but had not provided a precise value for its loss of business
income Id.

Case 5:05-cv-OOO70-HE Document 124 Fi|e'd 02/15/06 Page 6 of 12

~ it treated the insured as a manufacturing business, rather than as a non-manufacturing,
service business Glazing Concepts then submitted its Proof of Loss for business income and
extra expense on November 15, 2004. When considering the claim, Hennessey noted BCS ’s
rem ark in its October, 2004, report9 that “Glazing Concepts had made significant changes to
the Extra Expense claim by removing line items, adding line items and reclassifying line
items into different categories,” but had “provided no detailed listing of charges other than
a general ledger from May 9, 2003 through May 8, 2004.” Defendant’s Exhibit 3, 1]42. He
responded to the proof of loss on Deceinber 10, 2004, evaluating the business income loss
as $ `161,240 and the extra expense loss as $96,972¢11, for a total of $258,2 12.1 l. Hennessey
concluded that some items were not covered and that the insured had not provided sufficient
information with respect to the remaining disputed expenditures for him to determine if they
were “extra expenses” within the policy coverage. See Defendant’s Exhibit 3, 111 42»52
Hanover then issued a supplemental check in the amount of $l,508.l l, which
represented the difference between previous payments and Hennessey’s loss evaluation
Hennessey explained Hanover’s position regarding the insured’s claim in a letter dated
December lO, 2004, and suggested he meet with Brendle to discuss their different
assessments He stated in the letter that Hanover’s rejection of the proof of loss was not a

denial of “all or any part of any claim presented by Glazing Concepts, Inc. as it relates to the

 

QBCS had updated its analysis in October, 2004, finding the insured ’s combined business
income and extra expense loss amounted to $248,878. BCS placed extra expense charges totaling
$635. 992 in a “F or discussion ” column pending instruction from Hennessey as to whether the items
were covered or additional supporting documentation was required

6

Case 5:05-cv-OOO70-HE Document 124 Filed 02/15/06 Page 7 of 12

Ma y 8, 2003 tornado damage to the property.” Defendant’s Exhibit 64. The plaintiff filed

its complaint on January 20, 2005.

DISCUSSION

The tort of bad faith was first recognized by the Oklahoma Supreme Court in
Christian v. American Hoine Assurance Co., 577 P.2d 899 (Okla. 1978).10 lt arises from the
insurer’s implied duty to deal fairly and act in good faith with its insured Oulds v. Principal
M_u_t Life Ins. Co., 6 F.3d 1431, 1436 (10th Cir. 1993). The duty is not breached if the
insurer refuses to pay a claim or litigates a dispute with its insured if there is a legitimate
disp ute as to coverage or the amount of the claim, and the insurer’s position is reasonable and
legitimate Idi Put otherwise, “[t]he insurer will not be liable for the tort of bad faith if it
‘had a good faith belief, at the time its performance was requested, that it had a justifiable

reason for withholding payment under the policy. ”’ Id. (quoting McCov v. ()klahoma Faim

 

_Bu_reau l\/lut. lns. Co., 841 P.2d 568, 572 (Okla. 1992).

When presented with a motion for summary judgment on a bad faith claim, the court
initially must decide, under the facts and as a matter of law, whether the insurer’s conduct
may be reasonably perceived as tortious Id.

Until the facts, when construed most favorably against the insurer, have

established what might reasonably be perceived as tortious conduct on the part

of the insurer, the legal gate to submission of the issue to the jury remains
closed. To hold otherwise would subject insurance companies to the risk of

 

MAs this is a diversity action the substantive law of the State of Oklahoma applies

7

Case 5:05-cv-OOO70-HE Document 124 Filed 02/15/06 Page 8 of 12

punitive damages whenever litigation arises from insurance claims
Id. at 1437 (internal citations and quotations omitted). Hartford’s actions are evaluated in
light of the facts it knew or should have known at the time it was asked to perform its
contractual obligations Id. The defendant contends the record reflects the existence of a
legitimate dispute as to whether it owes the plaintiff any additional benefits under the policy.
The court agrees

The plaintiff essentially bases its bad faith claim against Hartford on the conduct of
BCEB'»» The crux of its argument is that BCS was manipulated and controlled by Hanover and
essentially was not its advocate.ll The insured believed that BCS was retained to help it and
concludes as BCS disagreed with the plaintiff s assessment of its loss, that the accounting
firm was not independent and objective

The plaintiff complains of BCS’s failure to provide it with copies of its reports, but
furnishes no basis, factual or legal, for such a duty.12 As Hanover was the entity that hired
BCS, evidence that the accounting firm reported to Hanover does not, alone, show that BCS
lacked independence or was dominated by the insurer. Pearce’s refusal to disclose anything

to the plaintiff without the approval of his superior, l\/lichael_ Clark, or Hennessey, also does

 

]]Harrell testified: “But it gave me a peace of mind that they [BCS] were working
independently on our behalf to help us along in this claim ” Plainti]f’s Attachment #l, Harrell
depot, p. 21 7.

' 2 T he plainti]f does not offer any evidence of discrepancies between the reports B CS provided
the insurer and the reports or summaries of reports that the plaintiij was sent. Its criticism of the
reports stems, in part, from BCS 's alleged mischaracterization in the reports of information the
plaintiij had provided the accounting firm. See infra note ]4.

8

Case 5:05-cv-OOO70-HE Document 124 Filed 02/15/06 Page 9 of 12

not demonstrate bad faith. Office procedure dictated that his reports were initially reviewed
by a partner and then forwarded to the adjuster, who determined if the information could be
provided to the insured. His comment in a file memo: “Once again, l didn’t comment on our
updated loss coinputation,” merely indicates compliance with office policy. Plaintiff s
Attz:ichment #1, Pearson depo., p. 39~40,

As for its contention that BCS’s analyses were “grossly in error” due to its
misunderstanding of Glazing Concepts’ business operation, the plaintiff fails to show more
than a disagreement regarding the amount of its business interruption loss Tliroughout its
brief and exhibits the plaintiff reiterates that BCS could not properly evaluate its claim
because Pearson did not go to the company site. His failure to visit precluded liim, the
plaintiff asserts, from “fully understand[ing] the fundamental inner workings of this type of
business [and] caused many errors to occur in BCS’ evaluations,.,.” Plaintiff s
Attachment #2, Brendle affidavit, 11 3.13 While these errors may exist, the plaintiff does not

suffi ciently identify them. 14 The plaintiff also has failed to submit any evidence that explains

 

]3Brendle ’s a]fidavit consists almost entirely of conclusory statements that are insufficient
to controvert Hanover’s evidence

1 4T he plaintiij also does not explain or ojfer any evidence supporting what it refers to as one
of its primary complaints against BCS ~ the accounting ]irm ’s issuance of reports to Hanover “in
a format that appeared the insured had voluntarily submitted documentation and was making a
claim in this format ” Plainti]f’s Attachment #2, Brendle ajftdavit, 1111 ]3, 1 ]. Brendle ’s statement
that this resulted in numerous mistakes and misinformation being presented to Hanover does not
create a factual question as to Hanover ’s bad faith.

9

Case 5:05-cv-OOO70-HE Document 124 Filed 02/15/06 Page 10 of 12

why BCS/Hartford’s analysis of its business interruption loss claim was unreasonable15 See
Defendant’s Exhibit 3, 1111 42-52 (Hennessey’s explanation for nonpayment of the plaintiff s
claimed extra expenses). The plaintiff did not submit the analysis of the accounting firm
which apparently assisted with or prepared its final claim for lost income and extra expenses
lt did not present testimony from an accountant demonstrating that BCS’s reports were
baseless or unreasonable16 Finally, as noted by the defendant, the plaintiff also did not
attach an affidavit regarding proper insurance claims handling from the expert it has
designated to testify at trial on that issue.

lnstead, the plaintiff attempts to bolster its bad faith claim with general,
unsubstantiated statements Such comments include: “Hanover made promises and then

delayed payment,17 accidently mailed the checks to the wrong address, accidentally put an

 

15 When asked to explain how the schedules prepared by BCS were “grossly in error, " as
alleged by the plaintijf Harrell responded: “By the way they tried to make the accounting, such as
outsourcing. T here was no way they analyzed our business, from the way our business operates
We put a request out to them to come and review our business see how it operates and be there,
because it was not accurate ” Plaintijf’s Attachment #], Harrell depo., p. 209. T his general
statement is insufficient to create a triable issue of fact as to the reasonableness of Hanover’s
conduct

'6 To the extent the plainti]f’s claim is premised on delayed payment by Hanover, Glazing
Concepts has not produced evidence of unreasonable delay. Harrell even admits that, because of
the circumstances Glazing Concepts ’ production of information BCS needed to evaluate its claims
was delayed Plainti]f’s Attachment #l, Harrell depo., p. 21 7-]9.

l 7T he plainti]f refers to an o]fer of $65, 000 that was not paid. However, that was an ojfer
of compromise See defendant ’s statement of fact #42.

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Case 5:05-cv-OOO70-HE Document 124 Filed 02/15/06 Page 11 of 12

extra name or two on the checks so it would have to be re-issued, etc., etc.;”18 “Hanover
attempted to cover its tactics by issuing lots of correspondence and having BCS do the same,
but the truth is that Hanover was not dealing in good faith with the plaintif ;” or “Hanover’s
practice was that it would take a certain position that would benefit it, but that was contrary
to the insured’s interest, and then make the insured prove otherwise, and Hanover followed

this bad faith practice in this case.3919

Plaintiff s response, pp. 2-3. These conclusory
statements both in the plaintiffs brief and Brendle’s affidavit,20 do not demonstrate the
existence of a factual dispute as to Hanover’s handling of the plaintiffs business interruption
claii'n" See generally _Qles_, 6 F.3d at 1442 (“ln McC_oy and Capstick, cases in which the
question of bad faith was required to be submitted to the jury, the evidence of the insurer’s
defense to the underlying claim was so weak that a reasonable inference could be drawn that
the insurer denied the claim in bad faith.”).

“Given the facts known to [Hanover] at the time a decision on payment was required,

there was a legitimate dispute concerning coverage, which the insurance company had a right

to have settled in a judicial forum.” Id, at 1440. See Manis v. Hartford Fire lns. Co., 681

 

lSHanover did reissue one check at the insured ’s request, but the submitted evidence does
not indicate that “extra names ” were placed on the original check by accident or even erroneously
See defendant ’s fact statement nos 22 -24; defendant ’s exhibit 14.

l 9 T he evidence cited to support this last statement a page from Hennessey ’s deposition,_ fails
to substantiate or even relate to it. Plainti]f’s Attachment #], Hennessey depo., p. 144.

20For example Brendle attests that “Mr. Hennessey selected BCS because they are a
Forensic Accounting firm that represents ‘primarily’ insurance companies An undisclosed duty
of this type of jirm is to evaluate the accounting from an insured for possible fraudulent claims by
the insured ” Plaintijf’s Attachment #2, Brendle a]j‘idavit, il 3.

11

Case 5:05-cv-OOO70-HE Document 124 Filed 02/15/06 Page 12 of 12

P.2d 760 (()kla. 1984). See Defendant’s Exhibits 3, 28-29, 44, 48, 55, 64. Because a
legitimate dispute existed as to coverage, Hartford did not breach the duty of good faith
merely by refusing to pay the entire amount of the plaintiff s claim for business interruption
loss That, coupled with the plaintiffs failure “to produce specific evidence of bad faith,”
O_uld_s, 6 F.3d at 1442, entitles the defendant to summary judgment on the plaintiffs tort
claim, id,and its punitive damages request, which is based on the tort claim. The plaintiff
failed to address the defendant’s motion insofar as it sought judgment on the plaintiffs
conspiracy claim and its request for damages for emotional distress Those claims are
confessed LCvR. 7.2(e). The court finds they also are not supported by the essentially
undisputed facts

Accordingly, Hanover’s motion for partial summary judgment is GRANTED.
Judg'ment on the plaintiff s bad faith and conspiracy claims, and its requests for emotional
distress and punitive damages will be entered when the action is concluded with respect to
all claims and parties Fed.R.Civ.P. 54(b).

lT IS SO ORDERED this ii |P' day of February, 2006.

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rrE srATEs Disrnicr JUDGE

 
 

 

12

